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AO 440 (Rev. 06/12) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the

Eastern District of Virginia

Bruce E. Katz, M.D., P.C., individually and on behalf
of all others similarly situated,

 

Plaintiff(s)
Vv.

Cordell Medical Remarketing Corporation, a Virginia
corporation

ee ed

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Cordell Medical Remarketing Corporation
c/o registered agent, Dan M. Benn, Jr.
8426 Sanford Drive
Richmond, VA 23228

A lawsuit has been filed against you.

Civil Action No.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,

whose name and address are: Francis J. Driscoll, Jr.
(frank@driscolllawoffice.com)
Law Office of Frank J. Driscoll Jr. PLLC
4669 South Blvd., Suite 107
Virginia Beach, VA 23452
Telephone: 757-321-0054

[f you fail to respond, judgment by default will be entered against you fot

You also must file your answer or motion with the court.

CLERK OF

Date: >

the relief demanded in the complaint.

COURT

 

 

enature of Clerk or Deputy Clerk
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Civil Action No.

was received by me on (date)

Date:

Additional information regarding attempted service, etc:

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PROOF OF SERVICE
(This section should not be filed with the court unless required

This summons for (name of individual and title, if any)

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by Fed. R. Civ. P. 4 (I)

 

1 I personally served the summons on the individual at (place)

 

on (date)

 

C1 I left the summons at the individual’s residence or usual place of abod

; OF

e with (name)

, 4 person of suitable age and discretion who resides there,

 

on (date)

 

 

 

, and mailed a copy to the individual’s last known address; or

 

 

[J I served the summons on (name of individual) , who is
designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
C1 I returned the summons unexecuted because ; or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

 

Se

ver 's signature

 

Print

/ ‘Se

bd name and title

rver's address

 
